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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                                                :
                                                                        :
                  -v-                                                   :    23-Cr-509 (JHR)
                                                                        :
JOSE GUERRERO BAEZ,                                                     :
                                                                        :
                           Defendant.                                   :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ----x




                         DEFENSE SENTENCING SUBMISSION




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    I.        INTRODUCTION

         In late 2023, Santo Peralta Lara1 – a 52-year-old grandfather who had grown up as a child

laborer in terrible poverty, never had the benefit of formal schooling, and was illiterate – found himself

in dire financial straits. He was responsible for supporting his large family, including his mother who

was gravely ill. Struggling to find decent-paying work, Mr. Peralta agreed to participate in a drug sale

to a confidential informant. The deal was bumbling and inept: he and his co-defendant showed up

with no drugs, hoping the CI would pay them anyway; when that plan failed, drove aimlessly around

Manhattan for nearly two hours in search of whatever product they could find; and ultimately obtained

methamphetamine pills that were only about 3% pure. When he was arrested, Mr. Peralta immediately

and tearfully admitted what he had done.

         For the last fourteen months, Mr. Peralta has been confined in pre-trial detention at the MDC,

one of America’s most notorious jails. He has witnessed unrelenting violence, suffered inhumane

deprivation, and endured agonizing pain from untreated medical conditions. He has been isolated

from his family and unable to access any programming. And even when his sentence eventually ends,

he will still need to spend months more in immigration custody. As someone who has never spent

more than a few months in jail, the experience has been a much-needed wakeup call.

         Mr. Peralta has learned a hard lesson. He knows he will be punished for what he did. For an

aging grandfather who overcame a very difficult background, committed this crime out of financial

desperation, was not a major drug trafficker, and maintains the unwavering love and support of his

family, a sixty-month sentence would be sufficient and not greater than necessary.




1 Although the indictment lists his name as “Jose Guerrero Baez,” Mr. Peralta’s birth name will be used throughout this

submission.

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   II.      FACTUAL BACKGROUND

   A. Mr. Peralta’s challenging upbringing, lack of education, and severe poverty.

         Now 52 years old, Santo Peralta Lara grew up in a deeply impoverished village in the

Dominican countryside. Santo’s father was never present, and his mother, Isabel, raised him and his

siblings in a tiny, hand-constructed hovel made of palm wood. Isabel worked six days a week in the

sugar cane fields, leaving the children to fend for themselves. Young Santo’s home had no electricity,

plumbing, or running water, and he lugged gallons of water from a communal well to drink and bathe.

         The 1970s were a time of severe turmoil in the Dominican Republic. The unemployment rate

was between 30-40%, and “illiteracy, malnutrition, and infant mortality rates were dangerously high.”

See Linda Whiteford and Kenneth Goodman, Culture Summary: Dominicans, HRAF (2003),

https://ehrafworldcultures.yale.edu/cultures/st04/summary. The government became destabilized

following a collapse in global oil prices, and both gang and state-sponsored violence became a part of

daily life. Id. Santo experienced this through the eyes of a child: he often starved, narrowly evaded

being beaten and robbed on the streets, and spent every day in a state of fear.

         Santo did not have a chance to go to school, and he never learned to read or write. Instead,

when Santo was seven years old, Isabel told him he needed to go to work in the fields. Each day,

Santo walked several miles to do backbreaking labor chopping sugar cane and picking coffee beans

and tomatoes. He worked nine-hour days in sweltering heat, under the command of violent and

abusive foremen. Older workers ran the field like a gang and took advantage of child laborers like

Santo: they beat him, whipped him with belts, slashed him with machetes, forced him to do the

heaviest labor, and prevented him from drawing any water from the nearby well. His hands are still

covered in the calluses he developed, and his body still bears scars. He was paid less than $1 per day.




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        Mr. Peralta endured those conditions for sixteen years, and all his earnings went to provide

for his family. As he got older, that family grew. Mr. Peralta became a father of five, and he loved his

children dearly, providing as much as he could for their wellbeing. His youngest son recalls:

                He always helped me whenever I needed it and made sure to instill the
                importance of working in me from a young age. By the time I was a
                teenager he taught me how to do different jobs and was very honest
                about how things are: how the world works, and how we need to work
                hard for the things we want in life. He set the example for my brothers
                and I, and always balanced the hard work with fun moments – he never
                missed a celebration or birthday and made sure to celebrate everyone.

Ex. D (Letter from Jose Manuel Peralta). Mr. Peralta tried to find better paying work in the

construction field, but he made far too little to support his mother, siblings, and children.

        When he was 36, Mr. Peralta came to the United States. He hoped to find better work, but as

someone without legal status he struggled to do so, and he was deported after less than a year following

a state drug arrest for which he was never convicted. Returning a short time later, he spent five years

in this country as a hard-working manual laborer. Like many immigrants, he was often exploited in

his construction jobs: his employers knew they could pay him below the minimum wage, deprive him

of paychecks, and force him to work extraordinary hours due to his lack of status. Mr. Peralta earned

barely enough to keep himself afloat, let alone provide for his desperate family in the Dominican

Republic, and he unfortunately started selling drugs. In 2018, Mr. Peralta was convicted of a drug

charge in Rhode Island – his first ever criminal conviction. He served nine months in jail, after which

he was brought to federal court, convicted of illegal reentry, sentenced to time served, and deported.

        Mr. Peralta moved back in with his mother and siblings in the Dominican Republic, still in

their tiny hovel in the countryside. Isabel was now nearly ninety years old, and her health was declining

rapidly. For five years, Mr. Peralta worked a series of low-paying jobs to cover Isabel’s medical

expenses. He worked as a construction worker, taxi driver, but ticket-taker – anything that he could

do to help pay the bills as someone who still could not read. When his sister became ill and nearly


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lost her leg, Mr. Peralta used all his meager savings to pay for her treatment, and she writes, “I still

have my leg because of him.” Ex. D (Letter from Melva Peralta Lara). Yet despite his financial

difficulties and the struggle his life had become, Mr. Peralta never lost his optimism, and his family

recalls that he always “put a smile on everyone’s face”:

                No matter how hard it got, he would always find a job and made sure
                we ate every day. He would work all day to be able to eat at night . . .
                His endurance and perseverance through a lifetime of financial
                struggles has been one of his biggest accomplishments.

Ex. D (Letters from Jose Manuel Peralta and Melva Peralta Lara). His family continued to grow and

he became a grandfather.

        Mr. Peralta, crushed by the responsibility of providing for his family and covering his mother’s

medical bills, ultimately made the difficult decision to return to the United States. It was the wrong

choice, since he did not have legal status. And his journey was both arduous and expensive. A coyote

charged Mr. Peralta thousands of dollars to get him across the border, a perilous and life-threatening

trip. In retrospect, returning to the United States only made things worse, since he was deeply

indebted to some very dangerous people.

        Mr. Peralta returned to construction work and tried his best to make a living, sending all his

earnings back home. He also reconnected with his former partner, Silvia Encarnacion, and they began

a relationship again. As Silvia describes:

                He has always been a good person to me, someone with strong values
                and many good qualities as a human being. Some of my favorite things
                are his smile and his help. He would help a lot at home, wake me up
                with a cup of coffee in bed, and carry everything for me. He made
                sure I felt his care and his loving nature was always present in our
                relationship.

Ex. D (Letter from Silvia Encarnacion). Silvia recognized, however, that Mr. Peralta was barely getting

by, and often had to send him food and clothes. Mr. Peralta could not afford his rent and nearly




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became homeless. One of his sons – the only other family member he had in the US – needed to take

him in, and they lived in a tiny Boston apartment with eight strangers. The experience was humiliating.

    B. The instant offense, involving an unsophisticated, bungled deal with a CI.

        Mr. Peralta had hoped to live a law-abiding life in the United States, but as a poor immigrant,

heavily in debt and lacking any education, he was an easy target for exploitation. In 2023, Mr. Peralta

communicated with a drug dealer known as “Flaco.” Hoping to make himself seem valuable, Mr.

Peralta claimed to have access to a supplier who could provide drugs for resale. Flaco saw an

opportunity, and put Mr. Peralta in touch with someone who was looking to buy. What Flaco and

the buyer did not know was that Mr. Peralta was wildly exaggerating. And what Mr. Peralta did not

know was that the man Flaco had connected him with was a confidential informant, getting benefits

in exchange for arranging set-ups for the DEA.

        Over several conversations, Mr. Peralta agreed to provide the CI 60,000 methamphetamine

pills. Mr. Peralta boasted and postured for the CI, claiming he could procure thousands of meth pills

and other drugs. But when the time came for the deal to go down in September 2023, Mr. Peralta

and his co-defendant, Pablo Hernandez Rodriguez, showed up empty handed.

        What happened next was almost comical in its ineptitude. While Hernandez waited in the car

that he and Mr. Peralta had rented that morning, Mr. Peralta got into the CI’s car with just a couple

of pills he claimed were a “sample.” He spent the next two hours stalling, claiming the original supplier

had fallen through and hoping the CI would give him the money on a promise that the drugs would

eventually be delivered. The CI balked at such an absurd suggestion, and when Mr. Peralta could stall

no longer, he told the CI he would be back and returned to the rented car with Hernandez. The pair

agreed to find drugs to sell to the undercover and pulled away, and for nearly two hours they drove

around the city while Hernandez frantically made calls hoping to find a drug connection.




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        At around 6:30 p.m., Mr. Peralta called the CI back and told him the drugs were on their way.

The agents, meanwhile, had relocated the CI out of fear that what was going down was an attempted

robbery, not a drug deal. Mr. Peralta and Hernandez finally returned to location for the deal, and a

few minutes later co-defendant Kevin Amaya pulled up and delivered a backpack full of pills to Mr.

Peralta and Hernandez. Having agreed with Hernandez to sell the pills, Mr. Peralta called the CI to

say he had the drugs, and the agents descended and arrested all three people involved. In a tearful

statement later that night, Mr. Peralta admitted what he had done.

        Although the pills Amaya delivered weighed a lot – approximately eight kilograms – they were

heavily stepped on, impure, and barely qualified as methamphetamine.                       Almost all the

methamphetamine trafficked in this country is over 96% pure; “impure” meth typically has a purity

level in the 80s. See U.S. Sent’g Comm’n, Methampethamine Trafficking Offenses in the Federal Criminal Justice

System, at 32-33 (June 2024). The pills that Amaya gave Mr. Peralta were a little over 3% pure, and in

its initial reports the DEA agents labeled the pills “fake methamphetamine.” USAO_000017.

        The arrest was devastating to Mr. Peralta and his family. His mother, well into her nineties,

became inconsolable and now “cries almost every day, thinking about the conditions [Mr. Peralta] is

living in at prison and not being able to see her son or talk to him.” Ex. D (Letter from Jose Manuel

Peralta). Mr. Peralta’s grandchildren “miss their grandfather and are always asking about when he will

come back home to see them.” Id. And although it has been difficult for Mr. Peralta to maintain

contact with them giving the well-documented communication problems at the MDC, his entire family

stands ready to help him land on his feet when he returns to the Dominican Republic. Id.

    C. Mr. Peralta’s horrific experience while at the MDC, and his sincere remorse.

        Mr. Peralta has been incarcerated at MDC Brooklyn for fourteen months. During that time,

he has suffered from a severe hernia and back pain that has left him nearly unable to walk. MDC

medical staff, however, have insisted that his condition can be adequately treated with ibuprofen, and


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refused to provide that medication because of a BOP policy requiring over-the-counter medications

to be bought from commissary funds. Despite Mr. Peralta’s limited means and defense counsel’s

attempts to intervene, MDC Legal has insisted that Mr. Peralta has sufficient funds to pay for that

medication. MDC medical staff, meanwhile, x-rayed Mr. Peralta’s back over a year ago and discovered

that he had a degenerative disc disease and spinal compression. Yet the medical staff never bothered

to tell him his diagnoses, much less prepare a treatment plan. He did not learn of his diagnoses until

I reviewed his medical records with him in preparation for sentencing.

        Meanwhile, Mr. Peralta has been cut off from his family, as phone calls from the MDC to the

Dominican Republic are both unreliable and unreasonably expensive. He has spent most of his

fourteen months locked down in a tiny cell for nearly the entire day, let out only for the occasional

shower. He has been fed rotten, weevil-infested food. He has witnessed daily violence, and two

people have been murdered at the MDC this year. Just last week, inmates had their water cut off, and

were given one bottle of water for the day to serve as both hydration and a portable toilet. Despite

the inhumane conditions, he has not had any infractions.

        The only person Mr. Peralta has been able to speak with consistently is Silvia. During his calls

he has been extremely remorseful. As Silvia explains, “He tells me he will never do something like

this ever again, and that every day he spends at MDC fills him with more regret. His situation saddens

me, but his remorse is why I have continued to support him, because I know he is sorry and genuinely

means it.” Ex. D. Mr. Peralta has written to the Court expressing his remorse and regret, in a letter

dictated orally due to his still being illiterate at 52 years old. Ex C.

        On July 16, 2024, Mr. Peralta pled guilty to conspiring to violate 21 U.S.C. § 841(b)(1)(B). In

its plea agreement, the government did not claim that Mr. Peralta was an organizer, leader, manager,

or supervisor of drug trafficking activity. Mr. Peralta apologized and expressed remorse for his




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actions, admitting that he agreed with another person to sell methamphetamine. As he conveys to the

Court in his letter, Mr. Peralta’s one hope is that he can see his mother again before she dies. Ex. C.

    D. The Probation Department recommends a substantial downward variance.

           In its pre-sentence report, the Probation Department calculated Mr. Peralta’s offense level as

31 and criminal history category as III, resulting in an advisory guidelines range of 135 to 168 months’

imprisonment, with a statutory mandatory minimum term of sixty months’ imprisonment. PSR at

26.2 Probation noted, however, that there were several mitigating factors present: Mr. Peralta’s

“difficult childhood and upbringing,” need to start working when he was just seven years old, and lack

of a “formal education.” Id. at 27. Probation added that Mr. Peralta’s “difficult upbringing, familial

circumstance and status as a nonviolent offender may be variance factors to consider.” Id. ¶ 99.

           Probation ultimately recommended a downward variance and a 96-month sentence. Id. at 26.

    III.      THE APPROPRIATE SENTENCE IS SIXTY MONTHS’ IMPRISONMENT

           Although the Court must consider the advisory guidelines sentencing range, the “Guidelines

are guidelines – that is, they are truly advisory.” United States v. Dorvee, 616 F.3d 174, 183 (2d Cir. 2010)

(citations omitted). “Even where a district court has properly calculated the Guidelines, it may not

presume that a Guidelines sentence is reasonable for any particular defendant.” Id. at 182. Rather,

the Court must conduct an “independent review of the § 3553(a) sentencing factors.” Id.

           Under 18 U.S.C. § 3553(a), the Court must “impose a sentence sufficient, but not greater than

necessary, to comply with the purposes” of criminal sentencing. Since courts must “consider every

convicted person as an individual,” the sentence imposed must “fit the offender and not merely the

crime.” Pepper v. United States, 562 U.S. 476, 487-88 (2011) (citations omitted). As such, the Court



2 In the plea agreement, the parties stipulated to a criminal history category of II and a guidelines range of 121 to 151

months. The increased criminal history category is based on Mr. Peralta’s previous illegal reentry conviction. Upon review,
that case does appear in the criminal history the government provided to the defense at presentment and as part of its
discovery production. The defense does not object to Probation’s guidelines calculation.

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must evaluate factors including, among other things, the “nature and circumstances of the offense and

the history and characteristics of the defendant”; “the need to avoid unwarranted sentencing

disparities”; and the need for the sentence to provide just punishment, afford adequate deterrence,

and protect the public. 18 U.S.C. § 3553(a)(1)-(7).

        Here, considering the well-documented deficiencies in the drug guidelines, a sentence

anywhere near the artificially inflated guidelines range would be far greater than necessary. Rather,

the § 3553(a) factors weigh heavily in favor of the statutory minimum sentence given Mr. Peralta’s

heartbreaking background, lack of education, health problems, family support, and the circumstances

of this bungled drug deal to an undercover – a deal involving some of the least pure methamphetamine

imaginable. A sentence of sixty months – the average sentence for similarly situated defendants in

this District – would be sufficient but not greater than necessary.

    A. The drug guidelines – which judges have repeatedly criticized as illogical, politically
       driven, and not based on empirical evidence, and which judges on the Sentencing
       Commission have rejected on policy grounds – do not deserve any deference.

        Although the guidelines are the “starting point and the initial benchmark,” Gall v. United States,

552 U.S. 38, 49 (2007), they are but one of seven statutory sentencing factors. 18 U.S.C. § 3553(a)(1)-

(7). The Court has broad authority to vary downward and impose a sentence below the advisory

range, including “based on a policy disagreement with the Guidelines, even where that disagreement

applies to a wide class of offenders or offenses.” Dorvee, 616 F.3d at 188 (citations omitted).

        Few guidelines have come under more withering criticism, and generated more policy

disagreement, than U.S.S.G. § 2D1.1, the drug trafficking guideline. That guideline was developed in

an unempirical fashion, inexplicably utilizes weight as a proxy for culpability, and does not reflect the

“heartland” of drug cases. In fact, two judges who currently sit on the Sentencing Commission –

Judges Carlton Reeves (the Chair) and John Gleeson – have rejected § 2D1.1 on policy grounds. United




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States v. Robinson, 2022 WL 17904534 (S.D. Miss. 2022) (unreported) (Reeves, J.); United States v. Diaz,

2013 WL 322243 (E.D.N.Y. 2013) (unreported) (Gleeson, J.).

        As the Supreme Court has recognized, the drug trafficking guideline is largely the result of

political considerations rather than empirical realities. Through the Sentencing Reform Act of 1984

(the “SRA”), Congress created the U.S. Sentencing Commission. The Commission was meant to fill

“an important institutional role: it has the capacity courts lack to base its determinations on empirical

data and national experience, guided by professional staff with appropriate expertise.” Kimbrough v.

United States, 552 U.S. 85, 109 (2007). By utilizing its expertise and empirical data, the Commission

would, under the SRA’s formulation, be able to produce guidelines that “reflect a rough approximation

of sentences that might achieve § 3553(a)’s objectives.” Id. For most offenses, “the Commission

developed Guidelines sentences using an empirical approach based on data about past sentencing

practices.” Id. at 96.

        The Commission, however, “did not use this empirical approach in developing the Guidelines

sentences for drug-trafficking offenses.” Id. Instead, it adopted a “weight-driven scheme” keyed to

the weight-based mandatory minimum sentences Congress enacted in the Anti-Drug Abuse Act of

1986 (the “ADAA”). Id. Essentially, the Commission took the weight-based mandatory minimums

and then set guidelines ranges in proportion to those minimums. The result was a “drug quantity table

based on drug type and weight to set base offense levels for drug-trafficking offenses.”              Id.

“[E]mpirical data on drug trafficking offenses were gathered, but they had no role in the formulation

of the Guidelines ranges for drug trafficking offenses.” Diaz, 2013 WL 322243, at *4 (emphasis in

original). By linking the guidelines ranges to weight rather than role in the offense, the Commission

thus created an unempirical system where “the vast majority of federal drug offenders who are neither

managers nor leaders are subjected to the harsh sentencing scheme that Congress intended only for




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those who occupy such roles.” Id. *6. This was so even though the mandatory minimums in the

ADAA were passed specifically to target managers or leaders of large-scale drug enterprises. Id.

        Meanwhile, over the ensuing decades, the Commission has repeatedly amended § 2D1.1 –

particularly with regard to methamphetamine – to be harsher. And it has done so based not on

empirical data, but on Congress’s political directives. For instance, the initial drug quantity table in

§ 2D1.1 did not include methamphetamine, since Congress had not set mandatory minimums for that

drug in the ADAA. The Commission instead assigned a “drug equivalency” value for meth. See U.S.

Sent’g Comm’n, Methamphetamine: Final Report of the Working Group, at 7-8 (1999). In 1988, however,

Congress added mandatory minimum penalties for meth.                 The Commission responded by

“incorporating these statutory penalties into the drug trafficking guideline,” make the meth penalties

much harsher based purely on Congress’s political decisions rather than new empirical data. U.S.

Sent’g Comm’n, Methamphetamine Final Report, at 8 (Nov. 1999).           Then, in the late 1990s, the

Commission made the meth guidelines harsher still by cutting in half the amount of meth

corresponding to each offense level. This change was instituted because Congress directed the

Commission to amend the guidelines “to provide for increased penalties” for meth – again, a purely

political change. U.S.S.G. App. C, Amend. 555 (Nov. 1, 1997). Although the Commission claimed

its ultimate meth guideline resulted from careful analysis and study, it was noted at the time that there

was no indication “the Commission has conducted any studies, held any hearing or otherwise

deliberately considered whether the current methamphetamine guidelines” were insufficient. National

Assoc. of Criminal Defense Lawyers, Comments on the 1997 Amendments – Part II, at 6 (Mar. 28,

1997), https://www.nacdl.org/Document/Comments-USSC-1997Amend-03281997.                     Indeed, the

Commission conceded that it would continue to link the drug quantity table to Congressionally-set

mandatory minimums because doing otherwise “may prove politically unwise.” U.S. Sent’g Comm’n,

Methamphetamine Final Report, at 18 (Nov. 1999).


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        The result of the Commission’s abandonment of its typical empirical approach has resulted in

a situation where “Guideline ranges of imprisonment for [drug trafficking] crimes are a less reliable

appraisal of a fair sentence” than most other offenses. United States v. Goodman, 556 F.Supp.2d 1002,

1010 (D. Neb. 2008). This is particularly so because, as many courts have recognized, weight – the

main driver of the guidelines range in a drug case – is a terrible proxy for culpability. As one district

court explained in discussing the myriad problems with the methamphetamine guideline:

                 The Guidelines’ quantity-driven, “market-oriented” approach is not a
                 proxy for culpability in every case, nor does it always correlate to the
                 purposes of sentencing under 18 U.S.C. § 3553(a). Drug quantity is
                 only an accurate measure when it corresponds to a defendant’s
                 position in the typical hierarchy that characterizes most drug
                 conspiracies. Where the defendant falls in this hierarchy is an
                 important fact in the court’s assessment of a defendant’s ultimate
                 culpability.

United States v. Hubel, 625 F.Supp.2d 845, 853 (D. Neb. 2008). Put differently, the drug guideline is

flawed because of its “overemphasis on quantity and the under emphasis on role in the offense.”

United States v. Cabrera, 567 F.Supp.2d 271, 275 (D. Mass. 2008) (Gertner, J.).

        The drug trafficking guideline has thus created a system that “subjects all defendants to harsh

treatment, not just the managers and leaders of the drug enterprise.” United States v. Hayes, 948

F.Supp.2d 1009, 1028 (N.D. Iowa 2013). The Commission has noted that “for every function, the

quantity of drugs involved in the offense resulted in a base offense level that included or exceeded the

five-year mandatory minimum penalty,” even though Congress’s mandatory minimums were meant

to target large-scale drug traffickers, and even though the Commission’s own research demonstrates

that “the quantity of drugs involved in an offense was not closely related to the offender’s function in

the offense.” U.S. Sent’g Comm’n, Report to Congress: Mandatory Minimum Penalties in the Criminal Justice

System at ii (2011).

        This flaw has led commissioners like Judge Gleeson to call for de-linking § 2D1.1 from

Congress’s “weight-driven mandatory minimum sentences.” As Judge Gleeson explained in rejecting
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§ 2D1.1 on policy grounds, the drug guideline is “not based on empirical data and national

experience,” is “excessively severe” because it exposes all participants in a drug deal to the ranges

Congress intended for “managers and leaders of drug organizations,” and is “driven by drug type and

quantity, which are poor proxies for culpability.” Diaz, 2013 WL 322243 at *1-2. Judge Gleeson

added that, in § 2D1.1, the Commission abandoned its stated goal of establishing a scheme reflecting

sentences in the “heartland” of particular cases. Id. at *9. As a result, “sentences below the Guidelines

range remain the rule rather than the exception for drug trafficking offenses.” Id. (emphasis added)

        The flaws in § 2D1.1 are particularly severe when it comes to methamphetamine. As federal

district judges have noted, the “methamphetamine Guidelines are fundamentally flawed because they

fail to consider additional factors beyond quantity. The system is too severe in the indiscriminate way

it treats offenders.” Hayes, 948 F.Supp.2d at 1029. The meth guideline is, moreover, “overinclusive,

because it subjects all defendants to harsh treatment, not just the managers and leaders of the drug

enterprise.” Id. at 1028. It thus results in sentences that do not effectuate the Commission’s goals:

“sentencing data over the years reveal that the Guidelines range for methamphetamine offenses do

not constitute the typical case or heartland.” Id. at 1030. In fact, just two years ago Judge Carlton

Reeves – the Chair of the Sentencing Commission – rejected the meth guideline on policy grounds,

given its undue focus on purity and weight rather than “all of the circumstances of the defendant’s

case and life.” Robinson, 2022 WL 17904534 at *3.

        Mr. Peralta’s case exemplifies the empirical flaws and draconian outcomes inherent in the meth

guideline. Based on the drug quantity table, Mr. Peralta’s advisory guidelines range is 135 to 168

months in prison – between eleven and fourteen years. Yet this case involved one bungled drug deal

for which he was not an organizer, leader, or supervisor. Mr. Peralta was not a major drug trafficker:

he did not even have the drugs he agreed to sell when he showed up for the deal, and he and his co-

defendant had to leave after the CI refused to simply hand over payment, driving around aimlessly for


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nearly two hours until they tracked down someone who could supply them. The deal was confined

to a CI, and no drugs made it into the community. Yet because of the unempirical approach taken by

the Commission, Mr. Peralta stands to be sentenced as heavily as a major drug trafficker.

        And the drugs co-defendant Amaya ultimately gave Mr. Peralta to resell were only a little over

3% pure. The Commission has recognized that since “controlled substances are often diluted and

combined with other substances as they pass down the chain of distribution, the fact that a defendant

is in possession of unusually pure narcotics may indicate a prominent role in the criminal enterprise

and proximity to the source of the drugs.” U.S.S.G. § 2D1.1, App. Note 27(c). Yet “most

methamphetamine confiscated today is ‘pure’ regardless of whether the defendant is a kingpin or a

low-level addict.”      Robinson, 2022 WL 17904534, at *3.               Indeed, the median purity of

methamphetamine in non-border districts in 2022 was 98%. U.S. Sent’g Comm’n, Methamphetamine

Trafficking Offenses in the Federal Criminal Justice System, at 35 (June 2024). Because of the stunningly high

purity of methamphetamine typically sold in this country, courts have repeatedly criticized the logic

that possessing highly pure meth evinces a high role in a drug operation, since even street level dealers

almost always possess meth that is highly pure. See, e.g., Robinson, 2022 WL 17904534, at *3. Obviously,

however, possessing pills that are so impure they barely constitute meth shows how low in the chain of

drug distribution Mr. Peralta was, when even the lowliest street dealer’s meth is thirty times purer.

        In sum, the drug guidelines in general – and the meth guideline in particular – are shockingly

flawed, and district courts have repeatedly rejected them on policy grounds. On the facts of Mr.

Peralta’s case, the Court should give § 2D1.1 “very little weight.” Diaz, 2013 WL 32243, at *18; see,

Robinson, 2022 WL 17904534, at *3.

    B. The § 3553(a) factors support a 60-month sentence.

        As noted, the advisory guidelines range here – 135 to 168 months – is the result of such a

flawed guideline that it provides this Court little empirical guidance as to what an appropriate sentence


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should be. The only limitation on the Court’s sentence is the sixty-month mandatory minimum. In

light of the § 3553(a) factors, a sixty-month sentence for Mr. Peralta – whose only previous jail

sentence was just a few months long – would be sufficient but not greater than necessary.

        Initially, Mr. Peralta’s history and characteristics support a sentence at the mandatory

minimum. 18 U.S.C. § 3553(a)(1). Mr. Peralta has endured a uniquely challenging life. He was raised

in desperate poverty in the Dominican countryside. Beginning when he was just seven years old, he

was forced to work in the cane and tomato fields, suffering harsh conditions, exploitation, and violence

that has left him scarred to this day. He lacked almost every opportunity imaginable: he had neither

indoor plumbing nor electricity, never had even the semblance of a childhood, grew up surrounded

by violence, and received no education. He is now a 52-year-old man who cannot read or write.

        Mr. Peralta’s obstacles continued throughout adulthood. He carried the financial burden of

keeping his family above water: he was responsible for his elderly mother’s medical expenses; he had

five children to feed and support; and at one point he emptied his life savings to fund an operation

that saved his sister’s leg. His menial wages failed to make ends meet, yet he worked tirelessly in jobs

like construction worker, taxi driver, and bus ticket-taker, doing his best to earn a living despite his

illiteracy. Mr. Peralta has shown a remarkable amount of self-sacrifice on behalf of his family

throughout his life. That is one of the principal reasons his family stands ready to support him in any

way they can once he returns home. Ex. D.

        The government will doubtless emphasize Mr. Peralta’s criminal record and his immigration

status. And there can be no doubt that Mr. Peralta should not have returned to the United States

following his deportation – something that, following the horrific experience he has endured over the

last fourteen months, he will certainly never do again. Although his record is not immaculate, his only




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prior convictions were for a drug possession case in Rhode Island and an illegal reentry conviction.3

He has never been convicted of a violent crime, never possessed a weapon, and prior to this case had

only ever spent a few months in jail. Sentencing someone with that background and limited record

to 135 months’ imprisonment would be far greater than necessary.

         And Mr. Peralta has shown since remorse for his actions in this case.                      He accepted

responsibility immediately, admitting to the agents what he had done just a couple of hours after his

arrest. He pled guilty and apologized for his poor decision. As he states in his letter to the Court, his

goal is to get home before his mother dies, settle back in the Dominican Republic, find gainful

employment, and return to the law-abiding life he led there before this incident:

                  I will be living with my mother and my family in Bani, where they are
                  anxiously waiting for me to return. I will work in construction because
                  it’s what I know best. My sons and grandchildren miss me dearly and
                  are frustrated, and my grandchildren don’t understand where I am and
                  why I haven’t seen them for so long. I am a family man and my love
                  and respect for my family in the Dominican Republic will keep me
                  from returning to the U.S. There is nothing left for me here, and I am
                  genuinely sorry for my actions.

Ex. C.

         Moreover, a sixty-month sentence is appropriate considering the nature and circumstances of

the offense. 18 U.S.C. § 3553(a)(1). Mr. Peralta’s actions were serious, and he has never minimized

their gravity in any way. But by the standards typically seen in this District, the conduct here warrants

a sentence not greater than the very high, five-year mandatory minimum. This was a botched drug

deal to a confidential informant. Mr. Peralta was not an organizer or leader, did not use weapons or

violence, and did not sell to civilians. And the very way the situation played out demonstrates that

Mr. Peralta, for all his big talk with the CI, was not a major drug trafficker. He showed up to the deal

with no drugs, hoping the CI would simply hand him thousands of dollars and trust him to bring the


3 Mr. Peralta was charged with drug possession in Massachusetts, but he was deported before that case resolved.   He
maintains the presumption of innocence as to that charge.

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pills later. No reputable drug trafficker would propose something so ridiculous; it was the kind of

suggestion that, in the real world of drug trafficking, could easily have gotten Mr. Peralta killed. Mr.

Peralta had to drive around with his co-defendant for nearly two hours trying to locate something to

give the CI when it became clear their original proposal was not going to be accepted. The whole

situation was so unbelievably absurd that the agents moved the CI off the scene, fearing this might

actually be an attempted robbery. USAO_000029. Walter White, Mr. Peralta was not.

       True, this case involved a lot of pills. Yet as Judge Gleeson, now on the Sentencing

Commission, explained in decrying the “broken” drug guideline:

               A more useful factor in determining culpability is not quantity, but role.
               The managers and leaders of a drug organization actively plan the
               organization’s activities, plot to increase its profits, and recruit its
               members. As a result, they are more likely to initiate crimes related to
               their drug enterprise and will be driven to increase the scale of those
               crimes. They are also more likely to commit new crimes in the future.
               By contrast, a low-level dealer or courier is easily replaceable and does
               little to advance the goals of the overall drug organization. He or she
               may be driven to crime by poverty or addiction, problems that can be
               addressed without incarceration. He or she will be less likely to
               recidivate in the future; if a term of incarceration is imposed, “a short
               prison sentence is just as likely to deter them from future offending as
               a long prison sentence.” Rational sentencing policies will favor
               lengthier sentences for managers and leaders than for low-level
               workers because of their respective roles, not because of the quantities
               of drugs that happen to be involved in their offenses.

Diaz, 2013 WL 322243, at *13. Mr. Peralta was precisely such a low-level dealer, driven by poverty,

and lacking the very drugs he promised to sell. He was in way over his head. Sentencing Mr. Peralta

to the kinds of sentences Congress intended to be imposed on drug traffickers would be draconian.

       And it cannot be overemphasized that the meth in this case barely qualified as such. The pills

in this case – a little over 3% pure – must be some of the least pure meth ever sold in this country.

Two-thirds of meth trafficked nationally is over 96% pure; over 90% of the meth in this country is

over 80% pure. Meanwhile, less than 2% of the meth in this country is less than 48% pure, the lowest

range the Commission has even bothered to track. U.S. Sent’g Comm’n, Methamphetamine Trafficking
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Offenses in the Federal Criminal Justice System, at 33 (June 2024). So even if the weight of the pills Mr.

Peralta briefly possessed were a relevant consideration for this Court, the fact that those drugs were

among the least pure meth ever distributed in this country certainly matters.

        The government will likely refer to the pills here, as it did at the presentment, as “dangerous.”

And certainly, methamphetamine is a dangerous drug.                 It must be noted, however, that

methamphetamine is far less dangerous than drugs that are sentenced far less severely. See Hayes, 948

F.Supp.2d at 1026 (“[M]any drug abuse experts contend that methamphetamine is not the most

harmful drug”); see also United States v. Bean, 317 F.Supp.3d 46, 54 (D.N.H. 2019) (criticizing harsher

treatment of methamphetamine under the guidelines than drugs like crack and heroin, which is

“unsupported by empirical data”). It results in much fewer overdose deaths than opioids. See Nat’l

Inst. On Drug Abuse, Drug Overdose Deaths: Facts and Figures, at Fig. 2 (Aug. 2024),

https://nida.nih.gov/research-topics/trends-statistics/overdose-death-rates#Fig2.             And     while

potency is not directly correlated to purity, it is almost never the case that meth is more potent than it

is pure. U.S. Sent’g Comm’n, Methamphetamine Trafficking Offenses in the Federal Criminal Justice System, at

9 (June 2024). Given that fact, it is hard to imagine that the meth Mr. Peralta possessed – barely more

than 3% pure – was anywhere near as strong as the 97%-potent meth typically sold on the streets. Id.

        Finally, a sixty-month sentence would satisfy the statutory purposes of punishment. First,

from a retributive perspective, 18 U.S.C. § 3553(a)(2)(A), five years in federal prison for a 52-year-old

man with Mr. Peralta’s background, who committed a crime of this type, who has never served more

than a few months in jail before, who hurt no one, and who has been remarkably remorseful, would

“promote respect for the law” and “reflect the seriousness of the offense.” Id.

        In this respect, it must be noted that Mr. Peralta has spent fourteen months in pretrial

detention at MDC Brooklyn, quite possibly the most dysfunctional and dangerous jail in the United

States. His time at the MDC has been harder and more punitive than that of inmates in pretrial


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detention elsewhere, and more severe than what Congress or the Sentencing Commission had in mind

when the guidelines were promulgated.

        As Judge Furman noted earlier this year in a widely cited decision, “It has gotten to the point

that it is routine for judges in both this District and the Eastern District to give reduced sentences to

defendants based on the conditions of confinement in the MDC. Prosecutors no longer even put a

fight, let alone dispute that the state of affairs is simply unacceptable.” United States v. Chavez, 22-Cr-

303, ECF No. 31, at *2-3 (S.D.N.Y. Jan. 4, 2024). Judge Furman noted the “near-perpetual lockdowns

(no longer explained by COVID-19), dreadful conditions, and lengthy delays in medical care.

Contraband – from drugs to cell phones – is widespread. At least four inmates have died by suicide

in the last three years.” Id. at *1-2.

        Judge Furman went on to discuss the three most prominent issues at the MDC. “First, inmates

at the MDC spend an inordinate amount of time on ‘lockdown’ – that is, locked in their cells,

prohibited from leaving for visits, calls, showers, classes, or exercise.” Id. at *9. Next, “the MDC is

notoriously and, in some instances, egregiously slow in providing necessary medical and mental health

treatment to inmates – especially where such care requires the attention of outside providers.” Id. at

*10-11. And finally, “the MDC’s physical conditions have long been problematic,” including “visible

mold, contaminated drinking water, vermin infestation, mouse droppings falling through HVAC

vents, and roaches and flies in showers.” Id. at *12. Mr. Peralta has experienced all the deprivations

Judge Furman expounded upon in Chavez.

        Incredibly, things have gotten worse since Chavez, during the time period in which Mr. Peralta

has been incarcerated at the MDC. For instance, the period from March to August of 2024:

                 [W]as marred by instances of catastrophic violence at MDC, including
                 two apparent homicides, two gruesome stabbings and an assault so
                 severe that it resulted in a fractured eye socket for the victim. One
                 knife attack was captured on a surveillance video producing images
                 that are horrifying beyond words. The activities precipitating these
                 attacks are nearly as unthinkable and terrifying as the ensuing injuries:
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               drug debt collection, fights over illegal narcotics, resisting an organized
               gang robbery, internecine gang disputes and as-yet-unidentified
               “brawls.”

United States v. Colucci, 2024 WL 3643857, at *5 (E.D.N.Y. Aug. 5, 2024). As a result, the facility has

been on near constant lockdown, with social and even legal visits sharply curtailed.

       In June, an article was published in which the media spoke with inmates at the MDC, who

described stabbings, weapons, lockdowns, criminal misconduct by corrections officers, cockroaches

in the food, and terrible medical care. Video evidence was provided. See Courtney Gross, Inmates

Decry Conditions in Brooklyn Jail, NY1 (June 24, 2024), available at https://ny1.com/nyc/all-

boroughs/politics/2024/06/24/brooklyn-federal-jail-murder-conditions.             Judge Gary Brown

recently referred to the conditions at the MDC as “dangerous” and “barbaric,” and noted that he

would vacate a defendant’s short sentence and convert it to home detention if the BOP designated

him there. Colucci, 2024 WL 3643857, at *7. Judge Brown’s decision cited countless examples of the

horrific conditions at the MDC, and cases in which judges granted relief in the form of sentence

reductions based on those conditions. As Judge Brown explained, “sentencing arguments based on

the reportedly deplorable conditions at MDC have grown so commonplace that – quite

understandably – counsel routinely raise the issue in shorthand fashion, as lawyers and judges have

grown weary of extended articulation.” Id. at *6.

       Put frankly, the fourteen months Mr. Peralta has spent at the MDC have been fundamentally

different than six months spent in pretrial detention by the typical federal defendant. In addition to

witnessing and experiencing all of the horrors described in Chavez and Colucci, Mr. Peralta has spent

fourteen months enduring agonizing pain from a hernia and spinal disorder. The MDC has insisted

that those conditions can be treated with ibuprofen, meaning requesting a medical order would have

had no meaningful impact – and the MDC typically ignores such orders anyway. It then insisted that

BOP policy required Mr. Peralta to pay for that medication out of his commissary, a callous demand


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considering his financial situation. The MDC medical staff did not even bother to tell Mr. Peralta

about the spinal disorders it had discovered when it x-rayed him last year. The months Mr. Peralta

has endured at the MDC have simply been more punitive than months spent anywhere else, and the

Court should take the MDC conditions into account when imposing sentence.

        Making matters worse, Mr. Peralta’s sentence will not even end when his term of incarceration

runs out. He will face months in immigration detention after he is released from federal prison, none

of which will be credited by the BOP. Meanwhile, because of his non-citizen status, his access to

programming while incarcerated will be sharply curtailed, and his ability to communicate with his

loved ones in the Dominican Republic will be almost non-existent. He will receive no visits, and will

continue as isolated as he has been for the last fourteen months. More than sixty months under such

conditions would be unduly punitive.

        Second, from an incapacitation and deterrence perspective, a sixty-month sentence would be

sufficient. In term of specific deterrence, the Sentencing Commission acknowledges that “the age-

crime curve, one of the most consistent findings in criminology, demonstrates that criminal behavior

tends to decrease with age.” U.S.S.G. § 5H1.1, p.s. Mr. Peralta presents a very low risk of recidivism:

by the time he is released on a sixty-month sentence he will be 57 years old, and only 26.8% of

offenders in that age range are ever rearrested. U.S. Sent’g Comm’n, The Effects of Aging on Recidivism

Among Federal Offenders, at 22 (Dec. 2017). The numbers are even lower for methamphetamine

offenders between fifty and 59 years old, who only recidivate 25.6% of the time. U.S. Sent’g Comm’n,

Recidivism of Federal Drug Trafficking Offenders Released in 2010, at 110 (Jan. 2022).   Meanwhile, by the

time of his release, Mr. Peralta will have aged more drastically than he would have on the outside:

incarcerated people “face more chronic and life-threatening illnesses earlier than we would expect

outside of prison, and physiological signs of aging occur in people younger than expected.” See Emily

Widra, The Aging Prison Population: Causes, Costs, and Consequences, Prison Policy Initiative (Aug. 2, 2023),


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https://www.prisonpolicy.org/blog/2023/08/02/aging/#:~:text=A%20robust%20body%20of%2

0research,in%20people%20younger%20than%20expected. There is simply no reason to believe a

sentence greater than sixty months will have a stronger specific deterrent effect for Mr. Peralta, who

has experienced medieval pre-trial incarceration conditions that have taught him a lesson, and who

was not a leader or manager in the offense. See Diaz, 2013 WL 322243, at *13 (for non-leaders in drug

trafficking cases, “a short prison sentence is just as likely to deter them from future offending as a

long prison sentence”).

           Nor is a sentence greater than sixty months necessary to achieve general deterrence. It is well-

settled that “the vast majority of people who are committing crime are not particularly forward-

looking,” and “social science conclusively finds that certainty matters more than severity” in the

deterrence context – that is, people are deterred based on their likelihood of being caught, not on the

length of the sentence they may receive. Brian Jacobs, The Cost of Affording Deterrence, Forbes (Nov. 16,

2021),                       https://www.forbes.com/sites/insider/2021/11/16/the-cost-of-affording-

deterrence/?sh=6f8975277bd4 (hereinafter “Jacobs Report”). In a bulletin by the National Institute

of Justice, the U.S. Department of Justice echoes, “Research shows clearly that the chance of being

caught is a vastly more effective deterrent than even draconian punishment.” U.S. Department of

Justice,     Five   Things   About   Deterrence   1,   National   Institute   of   Justice   (May   2016),

https://www.ojp.gov/pdffiles1/nij/247350.pdf. “Laws and policies designed to deter crime by

focusing mainly on increasing the severity of punishment are ineffective partly because criminals know

little about the sanctions for specific crimes.” Id. Put differently, longer sentences do not have a

stronger deterrent effect simply by virtue of being longer.

           This is particularly true in the drug context: because drug offenses are driven by user demand,

incarcerating low-skilled drug sellers who are easily replaced in the market does little to combat drug

availability. Indeed, as the punishments have increased steadily since 2000 for methamphetamine, the


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supply and consumption of that drug has increased unabated, showing that lengthier sentences do not

result in general deterrence. Meanwhile, in methamphetamine cases, there is practically no difference

in recidivism rates between individuals who receive two-year sentences, five-year sentences, and

sentences greater than ten years. U.S. Sent’g Comm’n, Recidivism of Federal Drug Trafficking Offenders

Released in 2010, at 113 (Jan. 2022). The idea that warehousing low-skilled individuals like Mr. Peralta

has an effect on the market for illegal drugs is pure legal fiction, and does not support a sentence of

more than five years in a federal prison.

        And fourth, incarceration for greater than five years will not improve Mr. Peralta’s access to

medical care or programming. His ability to access programming will be sharply curtailed due to his

immigration status; in any event, he will not have better access to programming six years from now

than he will over the next five years. And the BOP’s medical care is atrocious, as evidenced by the

way Mr. Peralta has been treated over the last fourteen months at the MDC.

        Mr. Peralta is a man who has endured difficult challenges and made a terrible mistake. He will

pay for that mistake with the next five years of his life. His only hope is to return home and see his

mother, who is in her nineties, before she dies; to reunite with his family; and to never return to this

country again. Locking him away into his sixties for a non-violent, botched drug sale to a CI would

be draconian. A sixty-month sentence is enough; no purpose is served by imprisoning Mr. Peralta for

longer than that. A sentence at the mandatory minimum would, therefore, be sufficient and not

greater than necessary.

    C. A sentence greater than sixty months would result in unwarranted sentencing
       disparities with similarly situated defendants.

        In the Southern District of New York, the vast majority of defendants receive sentences below

the advisory guidelines range, particularly following guilty pleas. Over the last nine fiscal years, nearly

77% of defendants in this District were sentenced below the guidelines range, receiving either



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downward variances, departures, or 5K letters. Just last year, nearly 80% of defendants in this District

received below-guidelines sentences. Ex. A.

        The prevalence of below-guidelines sentences is even more pronounced for individuals

similarly situated to Mr. Peralta. Last year, for instance, over 90% of defendants sentenced for drug

trafficking in this District received below-guidelines sentences. U.S. Sent’g Comm’n, Statistical

Information Packet: Fiscal Year 2023, Southern District of New York, at 16. For methamphetamine cases in

particular, since 2015, of the fifteen defendants similarly situated to Mr. Peralta in this District – non-

career offenders in criminal history category III – fourteen received below-guidelines sentences. Ex. B.

        And similarly situated defendants do not just receive below-guidelines sentences – they are

typically sentenced to about sixty months in prison. Last year in this District, the average sentence

for drug trafficking was 64 months, and the median sentence was 48 months. U.S. Sent’g Comm’n,

Statistical Information Packet: Fiscal Year 2023, Southern District of New York, at 11. Individuals similarly

situated to Mr. Peralta – in criminal history category III, not career offenders, and convicted of

trafficking methamphetamine – have fared no differently. Over the last five fiscal years, the average

sentence for such similarly situated defendants has been 61 months in this District, with a median

sentence of 60 months.




See U.S. Sent’g Comm’n, Interactive Data Analyzer, https://ida.ussc.gov/analytics/saw.dll?Dashboard.




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          All told, the sentence Mr. Peralta requests – sixty months’ imprisonment – would be directly

on par with the average sentence similarly situated defendants receive in this District. And that is to

say nothing of his unique mitigating circumstances, his lack of a leadership role, or the staggeringly

low purity level of the pills involved in this case. A higher sentence – and certainly the 96-month

sentence Probation suggests or the 135-month advisory guidelines sentence – would create an unfair

disparity with the way other similar individuals are treated.


    IV.       CONCLUSION

          Santo Peralta Lara made a terrible mistake, for which he will pay with at least five years of his

life. He hurt no one but himself with this bungled transaction. He understands how wrong his

conduct was, and he has not tried to minimize his actions. He asks only for the sentence similarly

situated individuals typically receive in this District.        Given his background, the nature and

circumstance of the offense, and his strong family support, a sixty-month sentence would be sufficient

but not greater than necessary.


Dated: November 7, 2024                                   Respectfully submitted,
       New York, New York
                                                          _____/s/_____________________

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